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KATHY A. DOCKERY
CHAPTER 13 TRUSTEE
801 S. FIGUEROA ST., SUITE 1850
LOS ANGELES, CA 90017
PHONE: (213) 996-4400
FAX: (213) 996-4426
                                         UNITED STATES BANKRUPTCY COURT

                                           CENTRAL DISTRICT OF CALIFORNIA

                                                 LOS ANGELES DIVISION

                                                      Case No: LA21-17849-SK
 IN RE:
                                                      CHAPTER 13
   ARTURO OLIVARES CARDENAS



                                                       TRUSTEE’S OBJECTIONS TO PLAN CONFIRMATION;
                                                       DECLARATION IN SUPPORT THEREOF; AND NOTICE
                                                       RE: EFFECT OF FAILURE TO APPEAR AT
                                                       CONFIRMATION HEARING

                                  DEBTOR(S).          DATE:           January 27, 2022
                                                      TIME:           10:00 am
                                                      PLACE:          ROYBAL BUILDING
                                                                      255 EAST TEMPLE STREET
                                                                      Courtroom 1575 15th Floor
                                                                      LOS ANGELES, CA 90012


     TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY JUDGE, THE DEBTOR

 AND ALL PARTIES IN INTEREST:



     The Chapter 13 Standing Trustee (the “Trustee”) hereby objects to confirmation of the plan in that the

 Debtor(s) has failed to meet all of the mandatory requirements set forth under

 11 U.S.C. §1325. The Trustee’s Objections are set forth in detail in Exhibit “A” of the attached Declaration in

 Support of the Trustee’s Objections to Confirmation. The Objections are based on information as known to

 the Trustee as of the §341(a) Meeting of Creditors (The "Meeting"). The Trustee reserves the right to raise

 additional objections.



     Unless otherwise specified at the Meeting, the Trustee requests that the debtor(s)

 provide any new or amended documents no later than five days after the Meeting. Pursuant to

 11 U.S.C. §521(3), the debtor(s) is required to cooperate with the Trustee.



     THE FAILURE OF THE DEBTOR(S) OR THE ATTORNEY FOR DEBTOR(S), TO APPEAR AT THE

 CONFIRMATION HEARING IS CAUSE FOR DISMISSAL OR CONVERSION OF THE CASE UNLESS
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 THE DEBTOR(S) OR THE ATTORNEY FOR DEBTOR(S) IS EXCUSED BY THE TRUSTEE OR BY A

 COURT ORDER PURSUANT TO L.B.R. 3015-1(d).

    THE    DEBTOR(S)     AND   ATTORNEY      FOR    DEBTOR(S),      IF    ANY,   ARE   ALSO   ADVISED     THAT    THE

 CASE     MAY   BE    DISMISSED    OR    CONVERTED       AT   THE        CONFIRMATION   HEARING      IF   ALL    PLAN

 PAYMENTS       AND     THE     DECLARATION        SETTING       FORTH        POST-PETITION     PRECONFIRMATION

 DEED OF TRUST PAYMENTS (OFFICIAL FORM F3015-1.4) ARE NOT TENDERED TO THE TRUSTEE

 PRIOR TO THE DULY NOTICED HEARING TIME.




   WHEREFORE, the Standing Trustee respectfully requests that confirmation of the plan be denied .



DATED: 11/19/2021



                                                      _________________________________

                                                      KATHY A. DOCKERY, Chapter 13 Trustee
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                                           DECLARATION OF KATHY A. DOCKERY

I, Kathy A. Dockery, declare as follows:

       1. I am the standing Chapter 13 Trustee in this matter and by virtue thereof, I have personal knowledge

of files and records kept by my office in the regular course of business.               I have personally reviewed the files

and records kept by my office in the within case.           The following facts are true and correct and within my own

personal knowledge and I could and would testify competently thereto if called to do so.

       2. The Trustee objects to confirmation of the proposed Plan due to the following deficiencies all of

which existed prior to or at the time of the §341(a) Meeting(s) held in this matter.             A true and correct copy of

the Trustee’s Objections in this matter is attached hereto and incorporated herein by reference as Exhibit

“A”.

       3. The Debtor(s) is requested to provide the documents and information set forth in

Exhibit “A”.



           I declare under penalty of perjury that the foregoing is true and correct.



DATED: 11/19/2021


                                                              _____________________________________
                                                              KATHY A. DOCKERY, Chapter 13 Trustee
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                                                        EXHIBIT A
                                                   Trustee Objections

If the debtor(s) fails to produce the documents and resolve the issues set forth in this trustee’s objection to
confirmation, the trustee may recommend dismissal or conversion of the case for cause and unreasonable delay
that is prejudicial to creditors. See 11 U.S.C. §§1307(c) and 1307(c) (1).

                             BANKRUPTCY PAYMENTS DUE AT CONFIRMATION
Bankruptcy Payments due at confirmation must be mailed to the Trustee’s lockbox prior to the confirmation
hearing. The Debtor or Attorney must present the Plan Payment Declaration with an attached copy of the
bankruptcy payment and a certified proof of mailing at the confirmation hearing. The Trustee’s lockbox address is
as follows:
                                              Chapter 13 Trustee
                                                  P.O. Box 691
                                            Memphis, TN 38101-0691

If you do not have evidence that your bankruptcy payments are current, your case may be dismissed at the
confirmation hearing.

Other issues may arise at or before confirmation requiring additional action or information by the debtor and
debtor’s counsel.

RESPONSES TO THE TRUSTEE’S OBJECTIONS ARE DUE ON November 29, 2021
Responses to the Trustee’s Objections must be uploaded to our website latrustee.com on the tab
T.R.U. If your firm is not registered for T.R.U., email our office at tru@latrustee.com for a user name
and password for your firm.

All documents that are required to be filed with the Bankruptcy Court must be uploaded to PACER prior
to submittal to the Trustee’s website.


                                                                                                          Amendment
                                                                                                              or
                                                                                                         Documentation
   No.                                          OBJECTION                                                  Requested
                                                          The Plan
     1.       The Trustee requests that the Debtor’s(s’) proposed plan provide for the            Plan: Other
              issuance of a payroll deduction order without further court order upon the Debtor   Nonstandard
              becoming delinquent by two or more plan payments. The Debtor is also                Provisions
              requested to check off the box in Part 1) 1.4 of the Plan to say “included” for     Plan: Part 1, 1.4
              other non-standard provisions. The Debtor has a duty to cooperate with the
              Trustee. See 11 U.S.C. §521(3) and F.R.B.P. 4002(4).

     2.       The proposed Plan is infeasible due to the claim(s) filed by the following          Plan
              creditors. 11 U.S.C. § 1325(a)(6).

                              IRS
                              Kern County Treasurer-Tax Collector

     3.       The proposed Plan is infeasible due to failure to provide for the unsecured claim   Plan
              of SolarCity Finance Company as scheduled under Schedule F. 11 U.S.C. §
              1325(a)(6).

                                                Assets (Schedules A,B,C)
     4.       If the Debtor(s) files a plan or amended plan which provides for less than a 100%   Evidence of Real
              dividend to Class 5 Creditors, the Debtor(s) is requested to provide evidence of    Property Valuation

    Arturo Olivares Cardenas
    2117849
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         the current fair market value of all real property the Debtor(s) discloses on
         Schedule A/B. The Debtor has the burden of proof for plan confirmation. See In        Evidence can include
         re: Hill 268 B.R. 548, 552 (9th Cir. BAP (Cal.), 2001); the Debtor(s) has a duty to   any of the following:
         prepare schedules carefully, completely, and accurately. Cusano v. Klein, 264         ▪Broker Price Opinion
         F.3d 936, 946 (9th Cir. 2001); In re Mohring, 142 B.R. 389,394 (Bankr. E.D. Cal.      ▪Appraisal
         1992). The Debtor has a duty to cooperate with the Trustee. See 11 U.S.C.             ▪Online Appraisal
         §521(3) and F.R.B.P. 4002(4).                                                         ▪Evidence of Prior Sales

5.       The Trustee objects to the homestead objection claimed by the Debtor(s) unless        Documentary Evidence
         the Debtor(s) provides documentary evidence of the date on which the interest in
         the principal residence was acquired. The Debtor has a duty to cooperate with
         the Trustee. See 11 U.S.C. §521(3) and F.R.B.P. 4002(4). The Debtor has the
         burden of proof for plan confirmation. See In re: Huerta 137 B.R. 356, 365
         (Bkrtcy.C.D.Cal., 1992), In re: Wolff 22 B.R. 510, 512 (9th Cir. BAP (Cal.) 1982),
         In re: Hill 268 B.R. 548, 552 (9th Cir. BAP (Cal.), 2001).

                                         Statement of Financial Affairs
6.       The Debtor(s) has failed to disclose the details on the party rental business.        Part 11
         See 11 U.S.C. §521(1); The Debtor(s) has a duty to prepare schedules carefully,
         completely, and accurately. Cusano v. Klein, 264 F.3d 936, 946 (9th Cir. 2001);
         In re Mohring, 142 B.R. 389,394 (Bankr. E.D. Cal. 1992).

                                           Miscellaneous Objections
7.       The Debtor(s) is requested to provide appropriate evidence of all required plan       Evidence of Plan
         payments which have come due prior to the date and time of the scheduled              Payments including
         confirmation hearing pursuant to the Trustee’s policy and Local Bankruptcy            Proof of Mailing
         Rules 3015-1(k) et seq. and 3015-1(m) et seq.
                                                                                               Evidence of Electronic
         Electronic plan payments made through TFS must be submitted 5 Payments with date of
         days before the Confirmation Hearing. Any TFS payments the transaction
         submitted less than 6 days prior to the Confirmation Hearing may
         not be deemed evidence of the required plan payment.

         Failure to timely submit plan payments including electronic payments may
         be cause for dismissal or conversion of the case to a case under chapter 7
         pursuant to 11 U.S.C. Section 1307(c) and Local Bankruptcy Rule 3015-
         1(k)(4) and 3015-1(m)(8).




Arturo Olivares Cardenas
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